                 Case 18-30179-lkg         Doc 21          Filed 05/02/18                Page 1 of 1
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    RUSSELL SIMON TRUSTEE


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         YV                                                                &+$37(5 13

    MICHAEL HOLCOMB

                                                                           '$7( May 2, 2018
                                                                           3/$&( East St Louis


35(6(17 Honorable Laura K. Grandy, US Bankruptcy Judge

&2816(/)253/$,17,))          Justin Farishon                                               Appears

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&2816(/)25'()(1'$17 Ron Buch                                                              Appears

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352&((',1*6 First Amended Objection to Confirmation

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0,187(62)&2857
 Case is called for hearing on the trustee's First Amended Objection to Confirmation. The First
Amended Objection is resolved by the entry of an agreed order on April 23, 2018.


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                                                         /s/Jacob Friederich
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